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                             IN THE UNITED STATES BANKRUPTCY
                           COURT FOR THE DISTRICT OF MARYLAND
                                        (At Baltimore)


In re:                                            *

KALI’S COURT, LLC,                                *      Case No. 23-13178-MMH

         Debtor.                                  *      (Chapter 11, Subchapter V)

*        *          *       *      *      *       *

In re:                                            *

VASILIOS KERAMIDAS,                               *      Case No. 23-11242-MMH

         Debtor.                                  *      (Chapter 11, Subchapter V)

                                                  *      JOINTLY ADMINISTERED
                                                         UNDER CASE NO. 23-13178
                                                  *

*        *          *       *      *      *       *      *       *      *       *      *      *

CORRECTIVE RESPONSE TO MOTION TO COMPEL OR SURRENDER PREMISES
  OF REJECTED LEASE OR, IN THE ALTERNATIVE, FOR RELIEF FROM THE
                         AUTOMATIC STAY

         Kali’s Court, LLC and Vasilios Keramidas, Debtors, by their attorneys, Robert B. Scarlett

and Scarlett & Croll, P.A., hereby responds to the Landlord’s Motion (I) to Compel Surrendered

Premises of Rejected Lease or, in the Alternative, (II) for Relief from the Automatic Stay, and in

support of this response respectively states:

                                          Jurisdiction and Venue

         1.         This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334.

         2.         This matter is a core matter pursuant to 11 U.S.C. §157(b)(2).

         3.         Venue is proper pursuant to 28 U.S.C. §§1408 and 1409.
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        4.          The Debtors admit the allegations set forth in paragraph 4 but only admits Exhibit

1 for identification purposes only.

        5.          The Debtors are not certain about the exact amount that is in arrears and therefore

deny the allegation set forth in paragraph 5 except to admit that there are post-petition arrears.

        6.          The Debtors are unsure as to how much has been paid and therefore denies

paragraph 6.

        7.          The Debtors are not sure if it has paid the post-petition water bills and therefore,

denies allegations in paragraph 7.

        8.          The Debtors admit the allegations in paragraph 8.

        9.          The Debtors deny the allegations in paragraph 9.

        10.         The Debtors deny the allegations in paragraph 10.

        11.         The Debtors admits that the stay should be lifted so that the landlord can file the

appropriate state actions to evict the Debtor.

        12.         This paragraph is an argument of law, and therefore the Debtors deny any

allegations in paragraph 12 since it does not contain allegations.

        13.         The Debtors deny the allegations in paragraph 13.

        14.         The Debtors deny the allegations in paragraph 14.

        15.         The Debtors admit the allegations in paragraph 15.

        16.         The Debtors admit the allegations in paragraph 16.

        17.         The Debtors are without sufficient knowledge to either admit or deny paragraph 17

and therefore denies paragraph 17.


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        18.         The Debtors are without sufficient knowledge to either admit or deny paragraph 18

and therefore denies paragraph 18.

        19.         The Debtors deny that it is not paying post-petition tax liabilities but it admits that

it has not filed all of his monthly reports.

        20.         The Debtors deny the allegations in paragraph 20.

        21.         The Debtors deny the allegations in paragraph 21.

        22.         The Debtors admit the allegations in paragraph 22.

        23.         The Debtors deny the allegations in paragraph 23.

        24.         There are no allegations in paragraph 24 but only argument of law and therefore

the Debtors deny any allegations contained in paragraph 24.

        25.         The Debtors deny the allegations in paragraph 25.

        26.         The Debtors admit that there are grounds for relief from the automatic stay but

believes that the automatic stay should only be lifted to allow the Landlord to pursue eviction

pursuant to Maryland law.

        27.         The Debtors deny the allegations in paragraph 27.

        28.         There are no allegations in paragraph 28.

        WHEREFORE, the Debtors having responded to the Motion prays that this Court hold a

hearing on the Motion and for such other and further relief as deemed appropriate by this Court.




                                                           Respectfully submitted,


                                                           /s/ Robert B. Scarlett
                                                           Robert B. Scarlett
                                                           Federal Bar No. 01424
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                                                    SCARLETT & CROLL, P.A.
                                                    306 W. Chesapeake Ave
                                                    Towson, MD 21204
                                                    (410) 468-3100




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 15th day of December, 2023 a copy of the foregoing

paper was sent electronically, by ECF Guidelines, pursuant to Local Bankruptcy Rule 9013-4 and

Federal Bankruptcy Rules 5005(a)(2) and 7005, to:


Electronic Mail Notice List - Parties in the case only

       Hugh M. (UST) Bernstein hugh.m.bernstein@usdoj.gov
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Manual Notice List

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        sam@landbcpa.com

And by first class mail, postage prepaid to: None


                                                /s/ Robert B. Scarlett
                                                Robert B. Scarlett




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